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 1   MARIO N. ALIOTO, ESQ. (56433)
     LAUREN C. CAPURRO, ESQ. (241151)
 2   TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP
     2001 Union Street, Suite 482
 3
     San Francisco, CA 94123
 4   Telephone: (415) 563-7200
     Facsimile: (415) 346-0679
 5   E-mail:    malioto@tatp.com
                laurenrussell@tatp.com
 6
     Lead Counsel for the Indirect Purchaser Plaintiffs
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10                               UNITED STATES DISTRICT COURT
11
                             NORTHERN DISTRICT OF CALIFORNIA
12
                                        OAKLAND DIVISION
13
     IN RE CATHODE RAY TUBE (CRT)                )   MDL NO. 1917
14   ANTITRUST LITIGATION                        )
                                                 )   Case No. 07-cv-5944-JST
15                                               )
     This Document Relates to:                   )   [PROPOSED] ORDER GRANTING
16                                               )   INDIRECT PURCHASER PLAINTIFFS’
     Indirect Purchaser Class Action             )   ADMINISTRATIVE MOTION FOR
17
                                                 )   PERMISSION TO (1) DISTRIBUTE
18                                               )   RESERVE FUND TO CLAIMANTS, AND
                                                 )   (2) PAY THE SETTLEMENT
19                                               )   ADMINISTRATOR’S INVOICES
                                                 )
20                                               )
                                                 )   The Honorable Jon S. Tigar
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                                                 )
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      [PROPOSED] ORDER GRANTING INDIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION
          FOR PERMISSION TO (1) DISTRIBUTE RESERVE FUND TO CLAIMANTS, AND (2) PAY THE
            SETTLEMENT ADMINISTRATOR’S INVOICES; MDL No. 1917; Case No. 07-cv-5944-JST
              Case 4:07-cv-05944-JST Document 6361-3 Filed 02/26/24 Page 2 of 2




 1            The Court, having considered the Indirect Purchaser Plaintiffs’ (“IPPs”) Administrative

 2   Motion for Permission to (1) Distribute Reserve Fund to Claimants, and (2) Pay the Settlement

 3   Administrator’s Invoices, the supporting materials and other papers on file in this action, and the

 4   statements of counsel and the parties, and finding good cause appearing, hereby GRANTS the

 5   Motion as follows:

 6            1.     The Court authorizes the Settlement Administrator to distribute the funds remaining

 7   in the $10,000,000 reserve fund, net of disbursements and including accrued interest, pro rata to

 8   the claimants from which it was withheld, except that the Settlement Administrator may hold back

 9   the interest accrued in 2024 plus $105,000 to pay taxes and accounting fees.

10            2.     Interest accrued or to be accrued in the future on the Qualified Settlement Fund

11   may be applied to pay future taxes, accounting fees, and any other expenses.

12            3.     The Court finds the $509,822.06 in fees and expenses incurred by the Settlement

13   Administrator for work performed from June 2022 through July 2023 to distribute the settlement

14   funds to claimants are reasonable and hereby authorizes IPP Lead Counsel to pay that amount to

15   the Settlement Administrator from the Administration Fund set aside for such fees and expenses.

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17            IT IS SO ORDERED.

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19   Dated:
                                                          Hon. Jon S. Tigar
20                                                        United States District Judge

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      [PROPOSED] ORDER GRANTING INDIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION
          FOR PERMISSION TO (1) DISTRIBUTE RESERVE FUND TO CLAIMANTS, AND (2) PAY THE
           SETTLEMENT ADMINISTRATOR’S INVOICES; MDL NO. 1917; CASE NO. 07-CV-5944-JST
